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   16
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   18
   19                  UNITED STATES DISTRICT COURT
              CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
   20
   21
        SONOS, INC.,                               Case No. 2:20-cv-00169-JAK (DFMx)
   22
                        Plaintiff,                 JOINT STATUS REPORT
   23         v.
   24   GOOGLE LLC,
   25                   Defendant.
   26
   27
   28

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    1         Plaintiff Sonos, Inc. and Defendant Google LLC submit this joint report in
    2   response to this Court’s May 23, 2024 Order, Dkt. 53 (“Order”). In the Order, this
    3   Court instructed the parties to
    4                file an updated joint report as to [1] the status of the
    5                proceedings in the Federal Circuit . . . In that report, the
                     parties shall provide [2] their respective and/or collective
    6                positions on the appropriate next steps in this action in light
                     of any pending matters in the current appeal, including [3]
    7                as to what issues will remain for adjudication in this matter
                     if the decision by the Federal Circuit is not modified, as
    8                well as [4] a proposed schedule for completing each of
    9                those steps. Based on a review of the joint report, a
                     determination will be made as to whether the stay in this
   10                matter will be lifted, a schedule adopted, and/or a status
                     conference will be scheduled.
   11
   12   Dkt. 53.
   13   1.    Status of Proceedings in the Federal Circuit
   14         On June 24, 2024, Google filed a petition for rehearing en banc challenging
   15   the Commission’s finding of infringement based on the following issue:
   16                [w]hether the International Trade Commission’s authority
   17                under 19 U.S.C. § 1337(a)(1)(B)(i) is limited to articles that
                     infringe a patent as imported, or instead extends to cases
   18                where infringement can occur only when additional
                     features are added or additional steps are performed after
   19                importation.
   20   Appeal No. 22-1421, Pet. for Rehearing en banc, ECF No. 98 (Fed. Cir. Jun. 24,
   21   2024). The Federal Circuit has not yet acted on the petition.
   22   2.    The Parties’ Respective Positions on the Appropriate Next Steps
   23   Sonos’s Position:
   24         Sonos submits that the appropriate next steps are to lift the stay (Dkt. 30) and
   25   enter a scheduling order.
   26         Lifting the stay is appropriate because the sole issue remaining to be resolved
   27   on appeal will have no impact on this proceeding. In particular, the only issue
   28   raised by Google’s petition for rehearing is a request for an en banc panel of the

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    1   Federal Circuit to revisit its prior en banc ruling in Suprema, Inc. v. ITC, 796 F.3d
    2   1338 (Fed. Cir. 2015) (en banc). According to Google’s petition, Suprema relied
    3   on Chevron deference to find that Section 337 of the Tariff Act authorized the ITC
    4   to adjudicate cases in which an accused importer committed acts of indirect
    5   infringement involving articles imported into the U.S. Suprema, 796 F.3d at 1340-
    6   53. According to Google, because the U.S. Supreme Court abrogated Chevron in
    7   Loper Bright Enterprises et al. v. Raimondo, ___ U.S. ___ (2024), the Federal
    8   Circuit should revisit Suprema.
    9         That issue is entirely irrelevant to this proceeding. Indeed, even if the
   10   Federal Circuit accepts Google’s petition and ultimately decides to overturn
   11   Suprema, it will not impact the merits of any issue to be decided by this Court.
   12   Instead, at most, Google’s en banc petition will affect the ITC’s jurisdiction – not
   13   the substance of any issue it decided or which the Federal Circuit has considered on
   14   appeal. Moreover, the ITC jurisdictional issue impacts just one patent in suit, the
   15   ‘896 patent.
   16         This case has been pending for a very long time. The substantive issues
   17   relevant to this case that were the subject of the ITC proceeding have been fully
   18   adjudicated on appeal. Continuing the stay would, therefore, not advance judicial
   19   economy nor provide cost savings to the parties. The Court should, therefore, lift
   20   the stay and allow this case to move forward.
   21   Google’s Position:
   22         The Court should continue the stay until the Commission’s decision is
   23   rendered final through exhaustion of appellate proceedings. The Court previously
   24   decided to continue the stay during pending appellate review, and there is good
   25   reason to stay the course. For example, Sonos contends that the Commission’s
   26   and/or Federal Circuit’s determinations on infringement are relevant to the scope of
   27   remaining issues to be litigated and to setting a case schedule. See, e.g., Sonos’
   28   Positions on “What Issues Remain ” and “Proposed Schedule for Completing the
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    1   Remaining Issues,” repeatedly referencing those determinations. But if Sonos is
    2   going to rely on the Commission’s and/or Federal Circuit’s determinations on
    3   infringement, then those determinations should be final before the stay is lifted.
    4   Thus, while the Federal Circuit initially affirmed the Commission’s findings of
    5   infringement by original versions of certain accused products and noninfringement
    6   by Google’s redesigns, Google filed on June 24, 2024, a petition for rehearing en
    7   banc as to its appeal regarding infringement by the originally accused products
    8   because the Federal Circuit’s affirmance on those issues depended on affording
    9   Chevron deference to the Commission’s expansive view of its own authority under
   10   Section 1337. As Google’s petition anticipated, the Supreme Court has now
   11   overruled Chevron, which vitiated the foundation for the panel’s affirmance on
   12   Google’s appeal. As a result, the en banc court should grant Google’s petition and
   13   reinterpret Section 1337 without deference to the Commission, Loper Bright
   14   Enters. V. Raimondo, 603 U.S. ___, slip op. at 23 (U.S. June 28, 2024), and that
   15   could result in overturning the Commission’s infringement determinations. And if
   16   the Commission’s infringement determinations are overturned, then the assumption
   17   underlying Sonos’ case management demands (“Sonos has already prevailed before
   18   the ITC and Federal Circuit as to … infringement”) is no longer applicable.
   19   3.    The Parties’ Respective Positions on What Issues Remain
   20   Sonos’s Position:
   21         This case presents something of a dilemma. On one hand, a very large
   22   number of issues were decided by the ITC and affirmed by the Federal Circuit –
   23   including both infringement and validity. On the other hand, those decisions are
   24   not necessarily binding on this Court or the parties.
   25         Sonos would be content to agree (mutually with Google) not to relitigate any
   26   previously litigated issues, and to quickly bring this case to trial only on the issue of
   27   damages for the previously-adjudicated infringement. However, it is our
   28   understanding that Google will not so agree and intends to seek a jury trial on all
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    1   issues to which it is entitled to one. As a result, Sonos believes that (with the
    2   exception of claim construction disputes resolved by the Federal Circuit) the parties
    3   will need to retry both infringement and validity with respect to each of the five
    4   patents asserted in the ITC.
    5          In addition, because (during the ITC proceeding) Google created versions of
    6   its products as “design arounds” and because Sonos expects Google to argue that
    7   these designs are “acceptable non-infringing alternatives” which limit Sonos’
    8   damages, Sonos intends to amend to add related patents from the same patent
    9   families that cover Google’s “alternative” designs. Sonos is sensitive to the fact
   10   that adding patents to the case will create additional complexity. However, as
   11   related patents from the patent families, they should not require much in the way of
   12   additional prior art searching or claim construction. And Sonos is willing to abide
   13   by a schedule that, relatively quickly, limits both the total number of asserted
   14   claims and prior art references.
   15          Taking these issues together, Sonos believes that the following issues will be
   16   litigated in this case:
   17          1.     Infringement of the ITC patents by Google’s products (decided by the
   18                 ITC and Federal Circuit but Google intends to relitigate);
   19          2.     Validity of the ITC patents (decided by the ITC and Federal Circuit
   20                 but Google intends to relitigate)
   21          3.     Infringement of Google’s products (especially the redesigns) by
   22                 Sonos’s related patents from the same patent families as the patents
   23                 Sonos asserted in the ITC (not decided by the ITC);
   24          4.     Validity of Sonos’ related patents (not decided by the ITC)
   25          5.     Damages for infringement of all of Google’s products (not decided by
   26                 the ITC);
   27          6.     Injunctive relief, willfulness and enhanced damages (not decided by
   28                 the ITC).
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    1   Google’s Position:
    2         Sonos’ position is internally inconsistent, faulting Google for not forgoing its
    3   right to a jury trial on infringement and invalidity as they pertain to Sonos’
    4   previously-asserted patents, but then at the same time seeking to expand the scope
    5   this case by introducing some number of additional, unidentified patents. With
    6   respect to accused infringers, ITC determinations are not binding on district courts,
    7   and “accused infringers can raise whatever defenses they believe are justified,
    8   regardless whether they previously raised them and lost in the ITC.” See Texas
    9   Instruments v. Cypress Semiconductor, 90 F.3d 1558, 1569 (Fed. Cir. 1996).
   10   Google intends to exercise its right to litigate its defenses to Sonos’ allegations.
   11         Google is amenable to meet and confer on a proposed schedule and discovery
   12   limits to streamline this case, but (as detailed in the next section) Sonos only raised
   13   its intent to seek leave to assert additional patents two days ago and has refused a
   14   reasonable extension to allow the parties to engage in a productive meet and confer
   15   on this topic, including what discovery may be necessitated by Sonos’ attempt to
   16   significantly expand the scope of this case (see more on that below).
   17         Finally, Sonos did not tell Google until July 1, 2024, that it intends to
   18   “amend [its complaint] to add related patents from the same patent families.”
   19   Absent from Sonos’ positions is any indication of how many additional patents
   20   Sonos intends to seek leave to assert, which ones, and from which patent families.
   21   The only hint given by Sonos as to the identity of these patents is that they
   22   allegedly “cover Google’s ‘alternative’ designs.” During the ITC proceeding,
   23   Google introduced certain redesigns in 2022 that, even if the ITC were to find that
   24   Google’s original products infringe, are clearly outside the scope of the patents
   25   Sonos asserted. During the ITC proceeding, these redesigns were adjudicated to
   26   not infringe Sonos’ patents, and the Federal Circuit affirmed their non-
   27   infringement.
   28         Rather than acknowledge that Google’s alternate designs do not infringe
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    1   Sonos’ claimed inventions, it appears that Sonos may have filed additional patent
    2   applications, attempting to rewrite its claims to allegedly cover those redesigns—
    3   although Sonos has not yet even identified which other patents it thinks are
    4   pertinent. This raises significant issues that will need to be litigated, as Sonos has
    5   already been found to have filed other continuations on its patents without regard
    6   for reasonable prosecution practices or the disclosure of the originally-filed
    7   specification, resulting in patents that are unenforceable and/or invalid. See Sonos,
    8   Inc. v. Google LLC, No. C 20-06754 WHA & C 21-07559 WHA, 2023 WL
    9   6542320, at *30 (N.D. Cal. Oct. 6, 2023) (after a lengthy and in retrospective
   10   wasteful jury trial, finding that Sonos’ asserted patent is invalid and unenforceable,
   11   and vacating the jury verdict); see also id. (“It is wrong that our patent system was
   12   used in this way. With its constitutional underpinnings, this system is intended to
   13   promote and protect innovation. Here, by contrast, it was used to punish an
   14   innovator and to enrich a pretender by delay and sleight of hand. It has taken a full
   15   trial to learn this sad fact, but, at long last, a measure of justice is done.”). It will
   16   need to be determined through discovery and litigation whether these new patents
   17   (that Sonos has not yet asserted— or even identified) are similarly unenforceable,
   18   whether they are valid in view of the prior art, and of course, whether there is any
   19   infringement after they are properly construed.
   20          Accordingly, while Google reserves its right to respond more fully to Sonos’
   21   prospective motion to amend after Sonos actually identifies the patent it intends to
   22   seek leave to assert, it does not have enough information to be able to do so at this
   23   time. However, allowing Sonos to introduce new patents into this lawsuit, rather
   24   than streamlining the issues, would certainly expand this litigation well beyond the
   25   discovery conducted in the prior ITC proceeding. Inventors, including third party
   26   inventors, would need to be re-deposed; Google would need to perform new prior
   27   art searches; and there would be new claim construction issues to resolve.
   28   Moreover, Sonos seems to be claiming that additional, new products (including
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    1   Google’s redesigns) would now fall within the scope of discovery due to the
    2   introduction of the (yet unidentified) additional patents, further expanding the scope
    3   and complexity of this lawsuit.
    4   4.    Proposed Schedule for Completing the Remaining Issues
    5   Sonos’s Position:
    6         This action has been pending since January 2020. Sonos is a small fraction
    7   of Google’s size and this litigation has taken an enormous toll. In addition, Sonos
    8   has already prevailed before the ITC and Federal Circuit as to both infringement
    9   and validity as to all five of the current patents in suit. Sonos would, therefore, like
   10   to get to trial as expeditiously as possible. And while Sonos recognizes that it is
   11   seeking to add patents to the case (which increases complexity) as discussed above
   12   and proposed below, Sonos is willing to limit its asserted claims relatively early in
   13   the case.
   14         To that end, Sonos proposes the following schedule consistent with the
   15   Court’s default Schedule of Pretrial and Trial Dates.1
   16
   17
   18
        1
   19     Google alleges that Sonos made no attempt to meet and confer. That is
        inaccurate. Sonos sent Google its draft positions to the Court’s Order on July 1,
   20   2024 and asked Google to provide its positions prior to the July 3 filing. Google
        responded by requesting Sonos agree to an additional two-week extension on filing
   21   this report – not because anyone was “unavailable due to personal and business
        travel plans,” but because it alleged Sonos’s draft positions raised many unexpected
   22   issues. Sonos declined to agree to jointly request any extension (but Google was
   23   free to move on its own if it desired more time). Instead, Google then accused
        Sonos of refusing to meet and confer and proceeding in bad faith. Sonos offered to
   24   meet and confer with Google anytime July 2 or July 3 (despite that Google had not
        yet provided its positions), but Google declined. Google then waited until 6:14pm
   25   PT on July 3 (the day the joint report was due) to provide its draft positions, which
   26   are set forth herein. There was no need for Google to wait until it received Sonos’s
        draft responses in order to begin preparing its own. Indeed, the Court originally
   27   ordered the parties to provide this requested information on May 1. Dkt. 51. Thus,
        that Google needed to consider its own positions and propose a schedule for
   28   proceeding was not a surprise.
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    1
    2                               Weeks After       Plaintiff(s) Defendant(s)         Court
               Deadlines:
                                    Listed Event       Request       Request            Order
    3
    4           Lift Stay                n/a           7/10/24
    5
         Sonos amends complaint
    6      to assert additional          n/a           7/31/24
                 patents
    7
            Infringement           2 (After Order
    8                                  Setting
          Contentions (S.P.R.                          8/14/24
    9          2.1, 2.2)             Scheduling
                                    Conference)
   10
          Google responds to
   11     amended complaint              n/a           8/21/24

   12     Early Meeting of the      4 (After Order
             Parties, Initial           Setting
   13         Disclosures                              8/28/24
                                      Scheduling
   14         (S.P.R. 2.3)           Conference)
                                   10 days (Before
   15
         Joint Rule 26(f) Report     Scheduling
   16          (S.P.R. 2.3)          Conference         9/6/24
                                        Date)
   17
         Scheduling Conference
   18                                [set by Court]    9/16/24
              (S.P.R. 2.4)
   19      Last Date to Add
            Parties/Amend                n/a
   20
               Pleadings
   21                                 2 (After
         Invalidity Contentions
   22                                Scheduling        9/30/24
            (S.P.R. 2.5, 2.6)
                                     Conference)
   23
                                      4 (After
           Exchange of Claim
   24                                Scheduling        10/14/24
           Terms (S.P.R. 3.1)
                                     Conference)
   25
          Exchange Proposed           6 (After
   26      Constructions and         Scheduling        10/28/24
         Evidence (S.P.R. 3.2)       Conference)
   27
   28
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    1       Complete Claim          10 (After
    2    Construction Discovery    Scheduling        11/25/24
               (S.P.R. 3.3)        Conference)
    3                               11 (After
             Joint Markman
    4     Prehearing Statement     Scheduling         12/2/24
               (S.P.R. 3.4)        Conference)
    5    Simultaneous Opening       12 (After
    6       Markman Briefs         Scheduling         12/9/24
               (S.P.R. 3.5)        Conference)
    7        Simultaneously
    8    Responding Markman         14 (After
          Briefs, Tutorials, and   Scheduling        12/23/24
    9    Presentation Materials    Conference)
   10          (S.P.R. 3.5)
                                    17 (After
   11      Markman Hearing
                                   Scheduling         1/13/25
             (S.P.R. 3.6)
   12                              Conference)
   13                                                 3/3/25
           Markman Decision        [set by Court]
   14                                                  (est.)
          Patentee Files Final
   15         Infringement
   16     Contentions, Expert
           Reports on issues         4 (After
   17
          Where Patentee has         Markman          3/31/25
   18    Burden of Proof, All        Decision)
         Parties File Advice of
   19
         Counsel Disclosures
   20       (S.P.R. 4.1, 4.4)
           Accused Infringer
   21
         Files Final Invalidity
   22    Contentions, Rebuttal
          Expert Reports, and        8 (After
   23
            Opening Expert           Markman          4/28/25
   24       Reports Where            Decision)
         Accused Infringer has
   25
            Burden of Proof
   26          (S.P.R. 4.2)
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    1      Patentee’s Rebuttal
    2      Expert Reports on
                                       12 (After
         Issues Where Accused
    3                                  Markman             5/27/25
          Infringer has Burden
                                       Decision)
    4            of Proof
               (S.P.R. 4.3)
    5                                  16 (After
           Discovery Cut-Off
    6                                  Markman             6/24/25
              (S.P.R. 4.3)
                                       Decision)
    7                                  20 (After
          Last Date to File All
    8                                  Markman             7/22/25
          Motions (S.P.R. 4.5)
                                       Decision)
    9
   10
              In addition, given that the Parties had a full and fair opportunity to litigate a
   11
        substantial number of issues already at the ITC, Sonos proposes the following for
   12
        efficiency’s sake:
   13
              1.     The entire record from, and discovery taken in, the ITC should become
   14
                     part of the record and be otherwise available for use in this case
   15
                     consistent with 28 U.S.C. § 1659 and subject to the Federal Rules of
   16
                     Evidence and the Federal Rules of Civil Procedure.
   17
              2.     The Parties may not retread discovery already taken in the ITC
   18
                     concerning the subject matter at issue there. (As non-limiting
   19
                     examples, (i) the parties may not seek to re-depose witnesses
   20
                     concerning the subject matter for which they were already deposed,
   21
                     and (ii) may not seek further discovery on the issues for which they
   22
                     already sought discovery.)
   23
              3.     The Parties’ arguments in this case concerning issues already litigated
   24
                     in the ITC should be limited to the arguments raised in the ITC.
   25
        Google’s Position:
   26
              Sonos sent its proposal to Google on July 1, 2024, two days before the
   27
        deadline, purporting to dramatically expand the scope of this case, and without
   28
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    1   making any attempt to meet and confer with Google on any issue. Moreover, when
    2   Google requested a reasonable, two-week extension to meet and confer about these
    3   issues, which Sonos refused. When Google further explained that a purpose of the
    4   extension is to allow the parties to meet and confer on a proposed schedule and
    5   discovery limits proposed by Sonos, Sonos again refused to agree to an extension
    6   and only offered to meet and confer on July 2-3, 2024—leaving Google with
    7   insufficient time to evaluate Sonos’ proposal, especially since key members of
    8   Google’s in-house and outside counsel legal teams are unavailable due to personal
    9   and business travel plans.
   10         If the Court is inclined to lift the stay (which, as addressed above, is
   11   premature), the Court should order Sonos to meet and confer with Google regarding
   12   a proposed schedule and discovery limits. Engaging with Sonos’ last-minute
   13   proposal to dramatically re-shape and potentially expand the scope of this case at
   14   this stage, before the parties even had an opportunity to meet and confer on these
   15   issues, would be premature and an inefficient use of judicial resources.
   16
   17   Dated: July 3, 2024               ORRICK, HERRINGTON & SUTCLIFFE LLP
   18                                                    and
                                          LEE SULLIVAN SHEA & SMITH LLP
   19
   20                                     By:         /s/ Alyssa Caridis
                                                    Alyssa Caridis (SBN 260103)
   21                                           Attorneys for Plaintiff, SONOS, INC.
   22
   23   Dated: July 3, 2024               QUINN EMANUEL URQUHART & SULLIVAN, LLP
   24
   25                                     By:          /s/ Lance Yang
                                                      Lance Yang (SBN 260705)
   26                                           Attorneys for Defendant, GOOGLE LLC
   27
   28
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    1                               FILER’S ATTESTATION
    2         I, Alyssa Caridis, pursuant to Civil Local Rule 5-4.3.4(2)(i), attest that all
    3   other signatories listed, and on whose behalf the filing is submitted, concur in the
    4   filing’s content and have authorized the filing.
    5
    6   Dated: July 3, 2024                      /s/ Alyssa Caridis
                                                Alyssa Caridis (SBN 260103)
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